                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION – DETROIT

IN RE:

Sean Patrick Kane,                              Bankruptcy Case No. 19-44713
                                                Hon. Maria Oxholm
       Debtor.                                  Chapter 7
                                  /

                     ORDER GRANTING DEBTOR’S EX-PARTE
                     MOTION TO REINSTATE CHAPTER 7 CASE

       This matter having come before the Court upon the Debtor’s Ex-Parte Motion to

Reinstate Chapter 7 Case, the Court having considered the same and otherwise being

fully advised in the premises;

       NOW THEREFORE, IT IS HEREBY ORDERED that Case No. 19-44713-mlo is

REINSTATED.

Signed on April 18, 2019




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